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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    RACHELLE BARBOUR, #185395
     Attorney
3    Designated Counsel for Service
     OFFICE OF THE FEDERAL DEFENDER
4    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
5
     Attorney for Defendant
6    SHENG LI

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8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                        )   Mag. No. 14-146-CKD
12                                                    )
                           Plaintiff,                 )   STIPULATION AND [PROPOSED] ORDER
13                                                    )   TO EXTEND TIME FOR PRELIMINARY
     v.                                               )   HEARING AND EXCLUDE TIME
14                                                    )
     SHENG LI,                                        )
15                                                    )   NEW DATE:         August 14, 2014
                           Defendant.                 )   TIME:             2:00 p.m.
16                                                    )   NEW JUDGE:        Hon. Edmund F. Brennan
                                                      )
17
18           Plaintiff, United States of America, by and through Assistant United States Attorney

19   MICHAEL MCCOY, and Defendant SHENG LI, through his attorney RACHELLE BARBOUR,

20   of the Office of the Federal Defender, hereby stipulate to continue the Preliminary Hearing set

21   for July 31, 2014 to August 14, 2014, at 2:00 p.m.

22           The parties agree that the time beginning from the date of this stipulation extending

23   through August 14, 2014, should be excluded from the calculation of time under the Speedy

24   Trial Act. Further, the Defendants consent to an extension of the time for a Preliminary Hearing

25   until August 14, 2014. Fed.R.Crim.P. 5.1(d). The parties submit that the ends of justice are

26   served by the Court excluding such time, so that they may have reasonable time necessary for

27   effective preparation, taking into account the exercise of due diligence. 18 U.S.C.

28   § 3161(h)(7)(B)(iv). In particular, the time is required so that the parties can conduct
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1    investigation and the government can provide advance discover to defense counsel. Mr. Li
2    consents to this continuance. Defense counsel has already notified the Mandarin language court
3    interpreter of this request for continuance and will notify him of the new date if the matter is
4    continued.
5            The parties stipulate that the interests of justice outweigh the interest of the public and the
6    defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that this good cause
7    outweighs the public’s interest in the prompt disposition of criminal cases. Fed.R.Crim.P. 5.1(d).
8    Dated: July 30, 2014                                    Respectfully submitted,
9                                                            HEATHER E. WILLIAMS
                                                             Federal Public Defender
10
                                                             /s/ R. Barbour
11                                                           RACHELLE BARBOUR
                                                             Attorney for Defendant
12                                                           SHENG LI
13
14   Dated: July 30, 2014                                    BENJAMIN WAGNER
                                                             United States Attorney
15
                                                             /s/ Michael McCoy
16                                                           MICHAEL MCCOY
                                                             Assistant U.S. Attorney
17                                                           Attorney for Plaintiff
18
                                                   ORDER
19
             The Court has read and considered the Stipulation for the Extension of Time for
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     Preliminary Hearing pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this
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     matter. The Court hereby finds that the Stipulation, which this Court incorporates by reference
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     into this Order, demonstrates good cause for an extension of time for the Preliminary Hearing
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     date, pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure.
24
             Furthermore, for the reasons set forth in the parties’ Stipulation, the Court finds that the
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     interests of justice served by granting this continuance outweigh the best interests of the public
26
     and defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the
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      Stipulation and Order
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1    extension of time would not adversely affect the public’s interest in the prompt disposition of
2    criminal cases.
3    THEREFORE, FOR GOOD CAUSE SHOWN:
4             1. The date of the Preliminary Hearing is extended to August 14, 2014, at 2:00 p.m.
5             2. This time up to and including August 14, 2014 shall be excluded from the calculation
6    pursuant to 18 U.S.C. §3161(h)(7)(A) and Federal Rule of Criminal Procedure 5.1(d).
7    IT IS SO ORDERED.
8    Dated: July 30, 2014
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      Stipulation and Order
